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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                               CASE NO. 3:08cr22 LAC

GARY LAKEY

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on January 28, 2009
Motion/Pleadings: MOTION FOR NEW TRIAL
Filed by DEFENDANT                       on 1/26/09                    Doc.# 491

RESPONSES:
BY GOVERNMENT                                  on 1/27/09              Doc.# 497
                                               on                      Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the    foregoing,      it    is   ORDERED     this   29 th   day   of
January, 2009, that:
(a) The relief requested is DENIED.
(b)




                                                                 s /L.A. Collier
                                                             LACEY A. COLLIER
                                                   Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
